Case 2:24-cv-10030-TJH-RAO Document1 Filed 10/15/24 Pagelofi Page ID#:1

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

Robert Scot Building Venture LLC et al.

Plaintiff
Vv

. Civil Action No. 23-CV-80282
Creative Wealth Media Finance Corp. et al.

Defendant

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 06/21/2024

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: 08/05/2024

CLERK OF COURT

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Certitied to be a true and .
correct copy of the document on file
Angela E. Noble, Clerk,
U.S. District Court

Southern Distri¢t of Florida
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“Y—Deputy Clerk

Date = — S | > [aca

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